        Case 1:23-cr-00099-LJV-JJM Document 60 Filed 02/13/24 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,                                        23-CR-99-LJV-JJM

       v.
                                                               REPLY TO RESPONSE
SIMON GOGOLACK,

                     Defendant.
___________________________________



       Citing the importance of judicial economy, the government spends 27 pages arguing to

this Court that Mr. Gogolack is not entitled to a renewed detention hearing. But the government

does not address this Court’s clear message that the defense was at a “disadvantage” during the

initial hearing since counsel had just been recently assigned, and because only limited discovery

had been turned over. The defense motion to reopen the hearing cites one example demonstrating

why courts consistently compel disclosure in detention hearings and why this Court should

require further disclosure in setting a new hearing. Nonetheless, the government doubles down

on its pattern of withholding evidence, bookending its memorandum in opposition with

references to alleged jail calls that it has not turned over the defense.

        Moreover, the government continues to mischaracterize the limited material it has

disclosed. The government asserts that certain photos proves that Mr. Gogolack possessed

weapons on July 21, 2023. See Gov. Resp., at 3 (“[T]he firearm possession established that Mr.

Gogolack engaged in dangerous and violent crime as recently as July 21, 2023.”). What the

government again fails to recognize is that the photos allegedly found on the phone are not

photos at all, but screenshots of photos taken elsewhere. This is significant because even if the

government could prove that this was Mr. Gogolack’s phone and that he had exclusive access to
       Case 1:23-cr-00099-LJV-JJM Document 60 Filed 02/13/24 Page 2 of 3




it, it cannot prove that Mr. Gogolack actually took photos of the firearms, much less that he

possessed any firearm or “engaged in dangerous and violent crime” (id.) on the date associated

with the screenshot. If anything, it helps to the show the opposite: that Mr. Gogolack did not

possess the pictured firearms on that day (or else he would have taken an actual photo, not a

screenshot of another photo from an unknown place at an unknown date). Indeed, each of the

“photos” relied on by the government are nothing more than screenshots. Below is just one

example, with the relevant metadata highlighted:




                                                2
        Case 1:23-cr-00099-LJV-JJM Document 60 Filed 02/13/24 Page 3 of 3




       This is another example justifying this Court’s practice of requiring disclosure of items

on which the government relies.

        Mr. Gogolack is entitled to a fair hearing in which he has advance notice and disclosure

of the evidence that the government intends to use against him. The limited disclosures to date –

such as the FBI lab report that, hard as the government may try to skirt it, provides in plain

English that no blood can be identified, and the photos that are not photos – are just two

examples that bring home this point.

       Accordingly, it is submitted that this Court set a detention hearing, as well as a deadline

one week in advance of that date for the disclosure of all evidence the government intends to use

at the hearing.



DATED:                 Buffalo, New York, February 13, 2024

                                              Respectfully submitted,

                                              /s/ Jeffrey T. Bagley
                                              Jeffrey T. Bagley
                                              Assistant Federal Public Defender
                                              Federal Public Defender’s Office
                                              300 Pearl Street, Suite 200
                                              Buffalo, New York 14202
                                              (716) 551-3341, (716) 551-3346 (Fax)
                                              jeffrey_bagley@fd.org
                                              Counsel for Defendant Simon Gogolack


TO:    Casey Chalbeck, et al.
       Assistant United States Attorneys




                                                 3
